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     Attorney(s) for Social Positioning Input Systems, LLC
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 7
                      IN THE UNITED STATES DISTRICT COURT
 8                 FOR THE NORTHERN DISTRICT OF CALIFORNIA
 9
     SOCIAL POSITIONING INPUT        §
10   SYSTEMS, LLC,                   §             Case No: 3:21-cv-06893-WHO
                                     §
11
          Plaintiff,                 §             PATENT CASE
12                                   §
     vs.                             §             NOTICE OF VOLUNTARY
13
                                     §             DISMISSAL WITHOUT
14   LOGINEXT SOLUTIONS, INC.,       §             PREJUDICE
                                     §
15
          Defendant.                 §
16   ________________________________§
17
           Plaintiff Social Positioning Input Systems, LLC (“Plaintiff” and/or “SPIS”) files
18
     this Notice of Voluntary Dismissal Without Prejudice pursuant to Federal Rule of Civil
19
     Procedure 41(a)(1)(A)(i). According to Rule 41(a)(1)(A)(i), an action may be dismissed
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     by the plaintiff without order of court by filing a notice of dismissal at any time before
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     service by the adverse party of an answer. Accordingly, Plaintiff hereby voluntarily
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     dismisses this action against Defendant LogiNext Solutions, Inc. without prejudice,
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     pursuant to Rule 41(a)(1)(A)(i) with each party to bear its own fees and costs.
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                        NOTICE OF VOLUNTARY DISMISSAL WITHOUT PREJUDICE
       Case 3:21-cv-06893-WHO Document 15 Filed 10/15/21 Page 2 of 2




 1   Dated: October 15, 2021               Respectfully submitted,
 2
                                           /s/ Stephen M. Lobbin
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 8                                         Attorney(s) for Plaintiff

 9
                                CERTIFICATE OF SERVICE
10
           I hereby certify that on October 15, 2021, I electronically transmitted the
11
     foregoing document using the CM/ECF system for filing, which will transmit the
12
     document electronically to all registered participants as identified on the Notice of
13
     Electronic Filing, and paper copies have been served on those indicated as non-
14
     registered participants.
15

16                                         /s/ Stephen M. Lobbin
17                                         Stephen M. Lobbin

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                        NOTICE OF VOLUNTARY DISMISSAL WITHOUT PREJUDICE
